Case 1:22-cv-01092-GBW Document 45 Filed 02/27/24 Page 1 of 14 PageID #: 585
  Case 1:22-cv-01092-GBW Document 44 Filed 02/26/24 Page 1 of 14 PagelD #: 571




                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

  AMERICAN GENERAL LIFE
  INSURANCE CO NIP ANY,

               Plaintiff,

        V.                                             C.A. No. 22-1092-GBW

  WILMINGTON TRUST,
  NATIONAL ASSOCIATION,

               Defendant.

  WILMINGTON TRUST,
  NATIONAL ASSOCIATION,

               Defendant/Counter-Plaintiff,

        v.

  AMERICAN GENERAL LIFE
  INSURANCE CO NIP ANY,

               Plaintiff/Counter-Defendant.

             FIRST AMENDED (PROPOSED) SCHEDULING ORDER

        Pursuant to Rule 26(f) of the Federal Rules of Civil Procedure and Local Rule

  16.1, Plaintiff/Counter-Defendant American General Life Insurance Company and

  Defendant/Counter-Plaintiff Wilmington Trust National Association (collectively

  "the Parties") jointly agree and respectfully request that the Court order as follows:
Case 1:22-cv-01092-GBW Document 45 Filed 02/27/24 Page 2 of 14 PageID #: 586
   Case 1:22-cv-01092-GBW Document 44 Filed 02/26/24 Page 2 of 14 PagelD #: 572




         1.     Discovery.

         Unless otherwise ordered by the Court or agreed to by the Parties, the

   limitations on discovery set forth in the Federal Rules of Civil Procedure shall be

   strictly observed.

                (a)     Fact Discovery Cut Off.

         All fact discovery in this case shall be initiated so that it will be completed on

   or before August 30, 2024 . .

                (b)     Document Production.

         Document production shall be substantially complete by June 28, 2024.

   Productions shall be made on a rolling basis.

                (c)     Disclosure of Expert Testimony.

                        1.    Expert Reports.

         For the party who has the initial burden of proof on the subject matter, the

   initial Federal Rule 26(a)(2) disclosure of expert testimony is due on or before

   September 20, 2024. The supplemental disclosure to contradict or rebut evidence

   on the same matter identified by another party is due on or before October 23, 2024.

   Reply expert reports are due on or before November 8, 2024. No other expert

   reports will be permitted without either the consent of all parties or leave of the

   Court. Along with the submissions of the expert reports, the parties shall advise of




                                                2
Case 1:22-cv-01092-GBW Document 45 Filed 02/27/24 Page 3 of 14 PageID #: 587
  Case 1:22-cv-01092-GBW Document 44 Filed 02/26/24 Page 3 of 14 PagelD #: 573




  the dates and times of their experts ' availability for deposition.        Any expert

  depositions shall be taken no later than December 6, 2024.

                      11.    Objections to Expert Testimony.

        To the extent any objection to expert testimony is made pursuant to the

  principles announced in Daubert v. Merrell Dow Pharm., Inc. , 509 U.S. 579 (1993),

  as incorporated in Federal Rule of Evidence 702, it shall be made by motion no later

  than the deadline for dispositive motions set forth herein, unless otherwise ordered

  by the Court.

                      111.   Expert Discovery Cut Off.

        All expert discovery in this case shall be initiated so that it will be completed

  on or before December 6, 2024.

               (d)    Discovery Matters and Disputes Relating to Protective Orders.

                      1.     Any discovery motion filed without first complying with

  the following procedures will be denied without prejudice to renew.

                      11.    Should counsel find, after good faith efforts -   including

  verbal communications among Delaware and Lead Counsel for all parties to the

  dispute - that they are unable to resolve a discovery matter or a dispute relating to

  a protective over, the parties involved in the discovery matter or protective order

  dispute shall submit a joint letter in substantially the following form:




                                             3
Case 1:22-cv-01092-GBW Document 45 Filed 02/27/24 Page 4 of 14 PageID #: 588
   Case 1:22-cv-01092-GBW Document 44 Filed 02/26/24 Page 4 of 14 PagelD #: 574




                Dear Judge Williams:

                       The parties in the above-referenced matter
                       write to request the scheduling of a discovery
                       teleconference.

                       The following attorneys, including at least one
                       Delaware Counsel and at least one Lead Counsel
                       per party, participated in a verbal meet-and-confer
                       (in person and/or by telephone) on the
                       following date(s):
                       Delaware Counsel:

                       Lead Counsel:

                       The disputes requiring judicial attention are listed below:

                       [provide here a non-argumentative list of disputes requiring
                judicial attention]

                       111.   On a date to be set by separate order, generally not less

   than forty-eight (48) hours prior to the conference, the party seeking relief shall file

   with the Court a letter, not to exceed three (3) pages, outlining the issues in dispute

   and its position on those issues. On a date to be set by separate order, but generally

   not less than twenty-four (24) hours prior to the conference, any party opposing the

   application for relief may file a letter, not to exceed three (3) pages, outlining that

   party's reasons for its opposition.

                       1v.    Each party shall submit two (2) courtesy copies of its

   discovery letter and any attachments.




                                              4
Case 1:22-cv-01092-GBW Document 45 Filed 02/27/24 Page 5 of 14 PageID #: 589
  Case 1:22-cv-01092-GBW Document 44 Filed 02/26/24 Page 5 of 14 PagelD #: 575




                        v.   Should the Court find further briefing necessary upon

  conclusion of the conference, the Court will order it. Alternatively, the Court may

  choose to resolve the dispute prior to the conference and will, in that event, cancel

  the conference.

        2.     Motions to Amend.

        Any motion to amend (including a motion for leave to amend) a pleading shall

  NOT be accompanied by an opening brief but shall, instead, pe accompanied by a

  letter, not to exceed three (3) pages, describing the basis for the requested relief, and

  shall attach the proposed amended pleading as well as a "blackline" comparison to

  the prior pleading.

        Within seven (7) days after the filing of a motion in compliance with this

  Order, any party opposing such a motion shall file a responsive letter, not to exceed

  five (5) pages.

        Within three (3) days thereafter, the moving party may file a reply letter, not

  to exceed two (2) pages, and, by this same date, the parties shall file a letter

  requesting a teleconference to address the motion to amend.

        3.     Motions to Strike.

        Any motion to strike any pleading or other document shall NOT be

  accompanied by an opening brief but shall, instead, be accompanied by a letter, not




                                             5
Case 1:22-cv-01092-GBW Document 45 Filed 02/27/24 Page 6 of 14 PageID #: 590
   Case 1:22-cv-01092-GBW Document 44 Filed 02/26/24 Page 6 of 14 PagelD #: 576




   to exceed three (3) pages, describing the basis for the requested relief, and shall

   attach the document to be stricken.

         Within seven (7) days after the filing of a motion in compliance with this

   Order, any party opposing such a motion shall file a responsive letter, not to exceed

   five (5) pages.

         Within three (3) days thereafter, the moving party may file a reply letter, not

   to exceed two (2) pages, and, by this same date, the parties shall file a letter

   requesting a teleconference to address the motion to strike.

         4.     Application to Court for Protective Order.

         Should counsel find it will be necessary to apply to the Court for a protective

   order specifying terms and conditions for the disclosure of confidential information,

   counsel should confer and attempt to reach an agreement on a proposed form of

   order and submit it to the Court within ten (10) days from the date the Court enters

   this Order. Should counsel be unable to reach an agreement on a proposed form of

   order, counsel must follow the provisions of Paragraph 3(g) above. Any proposed

   protective order must include the following paragraph:

                 Other Proceedings. By entering this order and limiting
                 the disclosure of information in this case, the Court does
                 not intend to preclude another court from finding that
                 information may be relevant and subject to disclosure in
                 another case. Any person or party subject to this order
                 who becomes subject to a motion to disclose another
                 party's information designated "confidential" [the parties
                 should list any other level of designation, such as "highly

                                             6
Case 1:22-cv-01092-GBW        Document 45       Filed 02/27/24    Page 7 of 14 PageID #: 591
  Case 1:22-cv-01092-GBW Document 44 Filed 02/26/24 Page 7 of 14 PagelD #: 577




                confidential," which may be provided for in the protective
                order] pursuant to this order shall promptly notify that
                party of the motion so that the party may have an
                opportunity to appear and be heard on whether that
                information should be disclosed.

        5.     Papers Filed Under Seal.

               In accordance with section G of the Revised Administrative Procedures

  Governing Filing and Service by Electronic Means, a redacted version of any sealed

  documel)t shall be filed electronJcally within seven (7) c;lays of the filing of the ~ealed

  document.

        6.     Courtesy Copies.

               The parties shall provide to the Court two (2) courtesy copies of all

  filings (i.e., briefs, appendices, exhibits, declarations, affidavits etc.). Courtesy

  copies of appendices and exhibits should include hard tabs. This provision also

  applies to papers filed under seal.

         7.    Case Dispositive Motions.

        All case dispositive motions, an opening brief, and affidavits, if any, in support

  of any, in support of the motion shall be served and filed on or before January 24,

  2025. Briefing will be presented pursuant to the Court's Local Rules. No case

  dispositive motion under Rule 56 may be filed more than ten (10) days before the

  above date without leave of the Court.




                                              7
Case 1:22-cv-01092-GBW Document 45 Filed 02/27/24 Page 8 of 14 PageID #: 592
   Case 1:22-cv-01092-GBW Document 44 Filed 02/26/24 Page 8 of 14 PagelD #: 578




                (a)    Concise Statement of Facts Requirement.

                Any motion for summary judgment shall be accompanied by a separate

   concise statement, not to exceed six (6) pages, which details each material fact

   which the moving party contends is essential for the Court's resolution of the

   summary judgment motion (not the entire case) and as to which the moving party

   contends there is no genuine issue to be tried. Each fact shall be set forth in a

   separate numbered paragraph and shall be supported by specific citation(s) to the

   record.

                Any party opposing the motion shall include with its opposing papers a

   response to the moving party's concise statement, not to exceed six (6) pages, which

   admits or disputes the facts set forth in the moving party's concise statement on a

   paragraph-by-paragraph basis. To the extent a fact is disputed, the basis of the

   dispute shall be supported by specific citation(s) to the record. Failure to respond to

   a fact presented in the moving party's concise statement of facts shall indicate that

   fact is not in dispute for purposes of summary judgment. The party opposing the

   motion may also include with its opposing papers a separate concise statement, not

   to exceed four (4) pages, which sets forth material facts as to which the opposing

   party contends there is a genuine issue to be tried. Each fact asserted by the opposing

   party shall also be set forth in a separate numbered paragraph and shall be supported

   by specific citation(s) to the record.



                                              8
Case 1:22-cv-01092-GBW Document 45 Filed 02/27/24 Page 9 of 14 PageID #: 593
   Case 1:22-cv-01092-GBW Document 44 Filed 02/26/24 Page 9 of 14 PagelD #: 579




               The moving party shall include with its reply papers a response to the

  opposing party' s concise statement of facts , not to exceed four (4) pages, on a

  paragraph-by-paragraph basis. Failure to respond to a fact presented in the

  opposing party' s concise statement of facts shall indicate that fact remains in

  dispute for purposes of summary judgment.

               (b)    Ranking of Summary Judgment Motions.

               Any party-that files more than one summary judgment motion shall

   number each motion to indicate the order in which the party wishes the Court to

   review its pending motions. The first motion the party wishes the Court to consider

   shall be designated #1, the second motion shall be designated #2, and so on. The

   Court will review the party's summary judgment motions in the order designated by

  the party.   If the Court decides to deny a motion filed by the party, barring

   exceptional reasons determined sua sponte by the Court, the Court will not review

   any lower ranked summary judgment motions filed by the party.

         8.    Applications by Motion.

         Except as otherwise specified herein, any application to the Court shall be

   by written motion. Any non-dispositive motion should contain the statement

   required by Local Rule 7.1.1.




                                           9
Case 1:22-cv-01092-GBW Document 45 Filed 02/27/24 Page 10 of 14 PageID #: 594
   Case 1:22-cv-01092-GBW Document 44 Filed 02/26/24 Page 10 of 14 PagelD #: 580




         9.     Motions in Limine.

          Motions in limine shall not be separately filed. All in limine requests and

   responses thereto shall be set forth in the proposed pretrial order. Each party

   shall be limited to three (3) in limine requests, unless otherwise permitted by the

   Court. The in limine request and any response shall contain the authorities relied

   upon; each in limine request may be supported by a maximum of three (3) pages

   of argument, may b~ opposed by a maximum of three (3) pages of argument, and

   the party making the in Ii mine request may add a maximum of one ( 1) additional

   page in reply in support of its request. If more than one party is supporting or

   opposing an in limine request, such support or opposition shall be combined in a

   single three (3) page submission (and, if the moving party, a single one (1) page

   reply), unless otherwise ordered by the Court. No separate briefing shall be

   submitted on in limine requests, unless otherwise permitted by the Court.

         10.    Pretrial Conference.

          On June 3, 2025 at 3 :00 p.m. the Court will hold a pretrial conference in

   Court with counsel. The parties shall file with the Court the joint proposed final

   pretrial order in compliance with Local Rule 16.3(c) and the Court's Preferences

   and Procedures for Civil Cases not later than seven (7) days before the pretrial

   conference. Unless otherwise ordered by the Court, the parties shall comply with

   the timeframes set forth in Local Rule 16.3(d)(l)-(3) for the preparation of the



                                             10
Case 1:22-cv-01092-GBW Document 45 Filed 02/27/24 Page 11 of 14 PageID #: 595
   Case 1:22-cv-01092-GBW Document 44 Filed 02/26/24 Page 11 of 14 PagelD #: 581




   joint proposed final pretrial order. The Court will advise the parties at or before

   the above-scheduled pretrial conference whether an additional pretrial

   conference will be necessary.

          The parties shall provide the Court two (2) courtesy copies of the joint

   proposed final pretrial order and all attachments. The proposed final pretrial

   order shall contain a table of contents and the paragraphs shall be numbered.

         11.    Jury Instructions, Vair Dire, and Special Verdict Forms.

                Where a case is to be tried to a jury, pursuant to Local Rules 47.l(a)(2)

   and 51.1 the parties should file (i) proposed voir dire, (ii) preliminary jury

   instructions, (iii) final jury instructions, and (iv) special verdict forms seven (7) full

   days before the final pretrial conference. This submission shall be accompanied by

   a courtesy copy containing electronic files of these documents, in Microsoft Word

   format, which may be submitted by e-mail to gbw civil@ded.uscourts.gov.

          12.   Trial.

         This matter is scheduled for a 4-day jury trial beginning at 9:30 a.m. on

   June 9, 2025, with the subsequent trial days beginning at 9:30 a.m. Until the case

   is submitted to the jury for deliberations, the jury will be excused each day at 5:30

   p.m. The trial will be timed, as counsel will be allocated a total number of hours in

   which to present their respective cases.




                                              11
Case 1:22-cv-01092-GBW Document 45 Filed 02/27/24 Page 12 of 14 PageID #: 596
   Case 1:22-cv-01092-GBW Document 44 Filed 02/26/24 Page 12 of 14 PagelD #: 582




          13.   ADR Process.

                This matter is referred to a magistrate judge to explore the possibility

   of alternative dispute resolution.

          14.   Page/Word Limitations.

                Where page limits are specified by order or rule, the parties shall use a

   word-count limit. For each page allowed by order or rule, the parties shall use up to

                                    . page limit specified. by rule is 20 pages, the
   250 words. . For example, where the                                            .

   maximum number of words for a party's submission would be 5,000 (20 x 250). A

   certification as to the total number of words must be included in any submission.

          15.   Font.

                The text for all briefs, letters, motions, and concise statements of fact

   shall be 14-point and in Times New Roman or similar typeface. Each such filing

   must include a certification by counsel that the filing complies with the type, font,

   and word limitations set forth in this Order.        The person who prepares the

   certification may rely on the word count of the word-processing system used to

   prepare the filing.

          16.   Compendium of Cases.

                A party may submit with any briefing two (2) courtesy copies of a

    compendium of the selected authorities on which the party would like the Court to

    focus. Compendiums of cases shall not be filed electronically with the Court, but a




                                             12
Case 1:22-cv-01092-GBW Document 45 Filed 02/27/24 Page 13 of 14 PageID #: 597
   Case 1:22-cv-01092-GBW Document 44 Filed 02/26/24 Page 13 of 14 PagelD #: 583




   notice of service of a compendium of cases shall be filed electronically with the

   Court.

            17.   Relevant Deadlines and Dates.

                  All relevant deadlines and dates established by this Order are set forth

   in the chart attached as Exhibit A.




                                               GREGORY B. WILLIAMS
                                            UNITED STATES DISTRICT JUDGE




                                              13
Case 1:22-cv-01092-GBW Document 45 Filed 02/27/24 Page 14 of 14 PageID #: 598
   Case 1:22-cv-01092-GBW Document 44 Filed 02/26/24 Page 14 of 14 PagelD #: 584




                                      EXHIBIT A

                              Joint Proposed Case Schedule


                    Event                              Proposed Date

    Substantial Completion of Document      June 28, 2024
    Production
    Fact Discovery Deadline                 Aug. 30, 2024

    Opening Expert Reports                  Sept. 20, 2024

    Rebuttal Expert Reports                 Oct. 23, 2024

    Reply Expert Reports                    Nov. 8, 2024
    Expert Depositions                      Dec. 6, 2024
    Close of Expert Discovery               Dec. 6, 2024



    Dispositive Motion Deadline             Jan.24,2025



    Final Pretrial Conference               June 3, 2025
    Trial Date                              June 9, 2025




                                            1
